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 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                             Case No.:
     IGNACIO VERA,
11                Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR DENIAL
12         vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                               PERSON IN VIOLATIONS OF
13
                                               1. AMERICANS WITH DISABILITIES;
14
     AIR CHARTER CONSULTANTS, LLC;             2. CALIFORNIA’S UNRUH CIVIL
15   and DOES 1 to 10,                         RIGHTS ACT;
16                Defendants.                  3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
17
                                               4. CALIFORNIA HEALTH & SAFETY
18                                             CODE;
19                                             5. NEGLIGENCE
20
21
22
23
24
25
26         Plaintiff IGNACIO VERA (“Plaintiff”) complains of Defendants AIR CHARTER

27   CONSULTANTS, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

28   //



                                        COMPLAINT - 1
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 1                                             PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   quadriplegic due to his underlying neurological condition, syringomyelia, and requires
 4   the use of a wheelchair at all times when traveling in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a barber shop
 7   (“Business”) located at or about 8914 Reseda Blvd., Northridge, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28




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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and Plaintiff’s causes of actions arose in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    In or about December of 2021, Plaintiff went to the Business.
11         11.    The Business is a barber shop business establishment, open to the public,
12   and is a place of public accommodation that affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to maintain the parking space designated for
20                       persons with disabilities to comply with the federal and state
21                       standards. Defendants failed to provide proper van accessible space
22                       designated for the persons with disabilities.
23                b.     Defendant failed to maintain the parking space designated for persons
24                       with disabilities to comply with the federal and state standards.
25                       Defendants failed to paint the ground as required.
26                c.     Defendants failed to maintain the parking space designated for
27                       persons with disabilities to comply with the federal and state
28




                                             COMPLAINT - 3
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 1                       standards. Defendants failed to mark the space with the International
 2                       Symbol of Accessibility.
 3         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 4   Business and caused him difficulty and frustration. Plaintiff wishes to patronize the
 5   Business, however, Plaintiff is deterred from visiting the Business because his knowledge
 6   of these violations prevents him from returning until the barriers are removed.
 7         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 8   there are additional barriers to accessibility at the Business after further site inspection.
 9   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
10   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
11         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
12   knew that particular barriers render the Business inaccessible, violate state and federal
13   law, and interfere with access for the physically disabled.
14         17.    At all relevant times, Defendants had and still have control and dominion
15   over the conditions at this location and had and still have the financial resources to
16   remove these barriers without much difficulty or expenses to make the Business
17   accessible to the physically disabled in compliance with ADDAG and Title 24
18   regulations. Defendants have not removed such barriers and have not modified the
19   Business to conform to accessibility regulations.
20                                   FIRST CAUSE OF ACTION
21       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
22         18.    Plaintiff incorporates by reference each of the allegations in all prior
23   paragraphs in this complaint.
24         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
25   shall be discriminated against on the basis of disability in the full and equal enjoyment of
26   the goods, services, facilities, privileges, advantages, or accommodations of any place of
27   public accommodation by any person who owns, leases, or leases to, or operates a place
28   of public accommodation. See 42 U.S.C. § 12182(a).



                                            COMPLAINT - 4
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 1        20.   Discrimination, inter alia, includes:
 2              a.    A failure to make reasonable modification in policies, practices, or
 3                    procedures, when such modifications are necessary to afford such
 4                    goods, services, facilities, privileges, advantages, or accommodations
 5                    to individuals with disabilities, unless the entity can demonstrate that
 6                    making such modifications would fundamentally alter the nature of
 7                    such goods, services, facilities, privileges, advantages, or
 8                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 9              b.    A failure to take such steps as may be necessary to ensure that no
10                    individual with a disability is excluded, denied services, segregated or
11                    otherwise treated differently than other individuals because of the
12                    absence of auxiliary aids and services, unless the entity can
13                    demonstrate that taking such steps would fundamentally alter the
14                    nature of the good, service, facility, privilege, advantage, or
15                    accommodation being offered or would result in an undue burden. 42
16                    U.S.C. § 12182(b)(2)(A)(iii).
17              c.    A failure to remove architectural barriers, and communication barriers
18                    that are structural in nature, in existing facilities, and transportation
19                    barriers in existing vehicles and rail passenger cars used by an
20                    establishment for transporting individuals (not including barriers that
21                    can only be removed through the retrofitting of vehicles or rail
22                    passenger cars by the installation of a hydraulic or other lift), where
23                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
24              d.    A failure to make alterations in such a manner that, to the maximum
25                    extent feasible, the altered portions of the facility are readily
26                    accessible to and usable by individuals with disabilities, including
27                    individuals who use wheelchairs or to ensure that, to the maximum
28                    extent feasible, the path of travel to the altered area and the



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 1                       bathrooms, telephones, and drinking fountains serving the altered
 2                       area, are readily accessible to and usable by individuals with
 3                       disabilities where such alterations to the path or travel or the
 4                       bathrooms, telephones, and drinking fountains serving the altered
 5                       area are not disproportionate to the overall alterations in terms of cost
 6                       and scope. 42 U.S.C. § 12183(a)(2).
 7         21.    Where parking spaces are provided, accessible parking spaces shall be
 8   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 9   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
10   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
11   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
12   be van parking space. 2010 ADA Standards § 208.2.4.
13         22.    For the parking spaces, access aisles shall be marked with a blue painted
14   borderline around their perimeter. The area within the blue borderlines shall be marked
15   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
16   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
17   be painted on the surface within each access aisle in white letters a minimum of 12 inches
18   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
19   11B-502.3.3.
20         23.    Here, Defendants failed to properly maintain the access aisles as there were
21   no “NO PARKING” and no blue lines painted on the parking surface. Moreover,
22   Defendants failed to provide the access aisle with the minimum width of 96 inches.
23         24.    The surface of each accessible car and van space shall have surface
24   identification complying with either of the following options: The outline of a profile
25   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
26   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
27   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
28   length of the parking space and its lower side or corner aligned with the end of the



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 1   parking space length or by outlining or painting the parking space in blue and outlining
 2   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 3   occupant. See CBC § 11B-502.6.4, et seq.
 4         25.      Here, Defendants failed to paint the International Symbol of Accessibility on
 5   the surface as required.
 6         26.      By failing to maintain the facility to be readily accessible and usable by
 7   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 8   regulations.
 9         27.      The Business has denied and continues to deny full and equal access to
10   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
11   discriminated against due to the lack of accessible facilities, and therefore, seeks
12   injunctive relief to alter facilities to make such facilities readily accessible to and usable
13   by individuals with disabilities.
14                                 SECOND CAUSE OF ACTION
15                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
16         28.      Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         29.      California Civil Code § 51 states, “All persons within the jurisdiction of this
19   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
20   national origin, disability, medical condition, genetic information, marital status, sexual
21   orientation, citizenship, primary language, or immigration status are entitled to the full
22   and equal accommodations, advantages, facilities, privileges, or services in all business
23   establishments of every kind whatsoever.”
24         30.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
25   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
26   for each and every offense for the actual damages, and any amount that may be
27   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
28   amount of actual damage but in no case less than four thousand dollars ($4,000) and any



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 1   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2   person denied the rights provided in Section 51, 51.5, or 51.6.
 3         31.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5   shall also constitute a violation of this section.”
 6         32.    The actions and omissions of Defendants alleged herein constitute a denial
 7   of full and equal accommodation, advantages, facilities, privileges, or services by
 8   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10   51 and 52.
11         33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13   damages as specified in California Civil Code §55.56(a)-(c).
14                                  THIRD CAUSE OF ACTION
15                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16         34.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19   entitled to full and equal access, as other members of the general public, to
20   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25   places of public accommodations, amusement, or resort, and other places in which the
26   general public is invited, subject only to the conditions and limitations established by
27   law, or state or federal regulation, and applicable alike to all persons.
28




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 1         36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2   corporation who denies or interferes with admittance to or enjoyment of public facilities
 3   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5   the actual damages, and any amount as may be determined by a jury, or a court sitting
 6   without a jury, up to a maximum of three times the amount of actual damages but in no
 7   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8   determined by the court in addition thereto, suffered by any person denied the rights
 9   provided in Section 54, 54.1, and 54.2.
10         37.    California Civil Code § 54(d) specifies, “a violation of the right of an
11   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12   constitute a violation of this section, and nothing in this section shall be construed to limit
13   the access of any person in violation of that act.
14         38.    The actions and omissions of Defendants alleged herein constitute a denial
15   of full and equal accommodation, advantages, and facilities by physically disabled
16   persons within the meaning of California Civil Code § 54. Defendants have
17   discriminated against Plaintiff in violation of California Civil Code § 54.
18         39.    The violations of the California Disabled Persons Act caused Plaintiff to
19   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20   statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                FOURTH CAUSE OF ACTION
22                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23         40.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         41.    Plaintiff and other similar physically disabled persons who require the use of
26   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27   such facility is in compliance with the provisions of California Health & Safety Code §
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 1    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2    provisions of California Health & Safety Code § 19955 et seq.
 3           42.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4    that public accommodations or facilities constructed in this state with private funds
 5    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6    Title 1 of the Government Code. The code relating to such public accommodations also
 7    require that “when sanitary facilities are made available for the public, clients, or
 8    employees in these stations, centers, or buildings, they shall be made available for
 9    persons with disabilities.
10           43.    Title II of the ADA holds as a “general rule” that no individual shall be
11    discriminated against on the basis of disability in the full and equal enjoyment of goods
12    (or use), services, facilities, privileges, and accommodations offered by any person who
13    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14    Further, each and every violation of the ADA also constitutes a separate and distinct
15    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16    award of damages and injunctive relief pursuant to California law, including but not
17    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                    FIFTH CAUSE OF ACTION
19                                          NEGLIGENCE
20           44.    Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22           45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24    to the Plaintiff.
25           46.    Defendants breached their duty of care by violating the provisions of ADA,
26    Unruh Civil Rights Act and California Disabled Persons Act.
27           47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28    has suffered damages.



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 1                                     PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3    Defendants as follows:
 4          1.     For preliminary and permanent injunction directing Defendants to comply
 5    with the Americans with Disability Act and the Unruh Civil Rights Act;
 6          2.     Award of all appropriate damages, including but not limited to statutory
 7    damages, general damages and treble damages in amounts, according to proof;
 8          3.     Award of all reasonable restitution for Defendants’ unfair competition
 9    practices;
10          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11    action;
12          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13          6.     Such other and further relief as the Court deems just and proper.
14                               DEMAND FOR TRIAL BY JURY
15          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16    demands a trial by jury on all issues so triable.
17
18    Dated: February 4, 2022                 SO. CAL. EQUAL ACCESS GROUP
19
20
21                                            By:   _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
22                                            Attorneys for Plaintiff
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                                            COMPLAINT - 11
